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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DEMETRIUS WHITFIELD,

                                 Plaintiff,
                                                                 20-CV-7725 (CM)
                     -against-
                                                                CIVIL JUDGMENT
 OPERATION, et al.,

                                 Defendants.

         Pursuant to the order issued November 4, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed without

prejudice under Rule 41(b) of the Federal Rules of Civil Procedure for failure to comply with the

Court’s order.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     November 4, 2020
           New York, New York

                                                          COLLEEN McMAHON
                                                      Chief United States District Judge
